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1                                      UNITED STATES DISTRICT COURT

2                                          DISTRICT OF NEVADA

3                                                     ***
      UNITED STATES OF AMERICA,
4
                          Plaintiff,
5                                                        2:20-cr-00130-VCF
      vs.                                                MINUTE ORDER
6     NATALIE DECARVALHO,
7                          Defendant.
8           Defendant has consented to proceed before the undersigned magistrate judge. (ECF No. 18).
9           Accordingly, the jury trial scheduled for August 24, 2020, is VACATED. Counsel need not appear
10   at the Master Trial Calendar Scheduling Conference set for August 3, 2020.
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12          DATED this 31st day of July, 2020.
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13
                                                               CAM FERENBACH
14                                                             UNITED STATES MAGISTRATE JUDGE

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